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                                                       - 704 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                 STATE EX REL. COUNSEL FOR DIS. v. BEAUVAIS
                                              Cite as 308 Neb. 704



                       State of Nebraska ex rel. Counsel for Discipline
                         of the Nebraska Supreme Court, relator, v.
                                 John P. Beauvais, respondent.
                                                  ___ N.W.2d ___

                                        Filed March 19, 2021.    No. S-20-715.

                    Original action. Judgment of suspension.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  The Supreme Court of Iowa entered an order regarding
               the respondent, John P. Beauvais, on September 4, 2020.
               The Counsel for Discipline of the Nebraska Supreme Court,
               the relator, filed a motion for reciprocal discipline against the
               respondent. We grant the motion for reciprocal discipline and
               impose a suspension of 3 months.
                                          FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on May 2, 2014. He has been an active
               member of the Nebraska State Bar Association and the Iowa
               State Bar Association.
                  On September 4, 2020, the Supreme Court of Iowa issued an
               order and final judgment in which it found that the respondent
               violated the Iowa Rules of Professional Conduct. The respond­
               ent was found to have violated “Iowa Rules of Professional
               Conduct 32:1.1, 32:1.2(a), 32:1.3, 32:1.4(a)(1), 32:1.4(a)(3),
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. BEAUVAIS
                        Cite as 308 Neb. 704
32:1.4(b), 32:3.4(d), 32:8.4(c), and 32:8.4(d).” The Supreme
Court of Iowa found that the respondent made misrepresenta-
tions to the court and opposing counsel, failed to serve discov-
ery requests for his client, failed to request or take depositions,
failed to provide a settlement demand, failed to communicate
with experts before designating them as experts, failed to
respond to discovery requests, failed to communicate settle-
ment offers to his client, failed to notify his client of court
orders, misrepresented court orders to his client, and pressured
his client to sign a settlement agreement.
   The order suspended the respondent from the practice of law
for a period of 3 months, plus costs and expenses.
   On October 2, 2020, the relator filed a motion for reciprocal
discipline pursuant to Neb. Ct. R. § 3-321 of the disciplinary
rules. The motion stated that the above-cited Iowa Supreme
Court rules are in sum and substance the equivalent to Neb.
Ct. R. of Prof. Cond. §§ 3-501.1 (rev. 2017) (competence),
3-501.2(a) (rev. 2016) (client decisions), 3-501.3 (diligence),
3-501.4 (communications), 3-503.3(a) (rev. 2016) (candor
toward tribunal), 3-503.4(d) (fairness to opposing party and
counsel), and 3-508.4(c) and (d) (rev. 2016) (misconduct).
   This court filed an order to show cause as to why it should
not impose reciprocal discipline. On January 27, 2021, the
respondent filed a response in which he requested that he be
placed on probation. On February 5, the relator filed a response
requesting that this court impose a like discipline as that
imposed by the Iowa Supreme Court.
                           ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982, 814
N.W.2d 107 (2012). In a reciprocal discipline proceeding, a
judicial determination of attorney misconduct in one juris-
diction is generally conclusive proof of guilt and is not sub-
ject to relitigation in the second jurisdiction. Id. Neb. Ct. R.
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. BEAUVAIS
                        Cite as 308 Neb. 704
§ 3-304 of the disciplinary rules provides that the following
may be considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3-321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion, sus-
      pend the member pending the imposition of final disci-
      pline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as deter-
mined by the State Bar of Iowa, we determine that suspension
is appropriate.
   We grant the motion for reciprocal discipline and impose a
suspension of 3 months.
                        CONCLUSION
   The motion for reciprocal discipline is granted. The respond­
ent is suspended from the practice of law for 3 months. The
respondent shall comply with all notification requirements
by suspended members provided by Neb. Ct. R. § 3-316
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
          STATE EX REL. COUNSEL FOR DIS. v. BEAUVAIS
                       Cite as 308 Neb. 704
(rev. 2014), and upon failure to do so, he shall be subject
to punishment for contempt of this court. The respondent is
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and Neb. Ct. R.
§§ 3-310(P) (rev. 2019) and 3-323(B) of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                  Judgment of suspension.
